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                         Exhibit 1
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                                       May 5, 2021


Via Electronic Email


Anthony Weibell, Esq.
Wilson Sonsini Goodrich & Rosati
Professional Corporation
650 Page Mill Road
Palo Alto, CA 94304-1050

        Re:    Your April 22, 2021 Correspondence on Behalf of YouTube re: Musi
        Inc. – Apple Inc. – Reference No. APP44644-F

Dear Mr. Weibell:

        As you know, Winston & Strawn LLP represents Musi Inc. (“Musi”) in
connection with this dispute. Please correspond with me directly on this matter going
forward. I write in response to your correspondence on behalf of YouTube LLC
(“YouTube”) dated April 22, 2021 (“Your April 22 Letter”). Your letter claims that
Musi’s app breaches YouTube’s Terms of Service. For the reasons discussed below, we
respectfully disagree.

        As your client knows, Musi has been in dialogue with YouTube for more than
five years now—since at least 2015—and has repeatedly expressed its commitment to
offer an app that fully complies with YouTube’s Terms of Service. Whenever YouTube
has raised an issue with an aspect of Musi’s app functionality, Musi has in good faith
endeavored to either a) adjust its app functionality, or b) explain why its app is fully
compliant. In this same spirit, Musi addresses in detail below each of the claims in your
April 22 Letter.

       Your April 22 Letter makes a series of claims that appear to be based on a
misunderstanding of how the Musi app works and interfaces with YouTube. I address
them each in turn.1


1
 You also speculate that Musi is distributing a Musi Free App APK for Android, offered
at https://baixarapk.gratis/en/app/591560124/musi-simple-music-streaming (“Musi
APK”). Musi has no connection with this Android app. Musi has only ever offered its app
through the Apple App Store; any “Musi” apps advertised for Android / APK are not
developed or distributed by Musi Inc. Musi has explained this to YouTube’s
representatives on multiple occasions.
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        First you claim that “it appears that the Musi App is accessing and using
YouTube’s non-public interfaces not intended for use by third parties and is using such
unauthorized interfaces to access and display YouTube content and data. . . .” April 22
Letter at 1. That is not accurate. At no point does the Musi app access YouTube’s non-
public interfaces. Web requests are made directly from user devices to the publicly facing
YouTube website. Once the website returns a response, that response is parsed by the
app, on the user device, and the resulting data is either played (in the case of a video) or
displayed (in the case of a search/playlist page). This is by no means a novel way of
accessing the YouTube website; and is identical to the manner in which any web browser
would access the YouTube website.

        Thus, your claim that the Musi app violates YouTube’s Terms of Service on the
basis that it is accessing YouTube’s non-public interfaces without authorization is
unfounded. Similarly, at no point does Musi circumvent, disable, or otherwise interfere
with any security measures implemented by YouTube. Musi also does not use automated
means (like bots or scrapers). Rather, the Musi app allows a user to directly access the
YouTube site to interact with content selected by the user. Musi does not “alter” or
“modify” such content. The Musi app merely provides a user with enhanced functionality
to interact with publicly available content on YouTube’s website that the user is
otherwise entitled to access. See hiQ Labs, Inc. v. LinkedIn Corp., 938 F.3d 985, 1003
(9th Cir. 2019) (while hiQ’s website scraping is distinguishable from how the Musi app
operates, this case makes the important distinction between content available on “public
websites” like LinkedIn and “non-public or ‘restricted’ websites”). YouTube videos are
not stored on Musi’s servers, and Musi does not otherwise modify the YouTube content
streamed to users.

         For similar reasons, your claim that Musi violates YouTube’s prohibition on use
of its service for “other than personal, noncommercial use,” April 26 Letter at 2, is not
well founded as it is Musi’s users who access YouTube. The Musi app merely allows
users to access YouTube’s publicly available website through a functional interface.

        Finally, your claim that Musi violates YouTube’s prohibition on the sale of
advertising “on any page of any website or application that only contains Content from
the Service or where Content from the Service is the primary basis for such sales,” April
22 Letter at 2, lacks merit. Musi has addressed this point several times in past
correspondence with YouTube. The functionality offered by the Musi app is of sufficient
value to justify Musi’s advertisement sales. The Musi application is not a static video
viewing application, or a bald replication of YouTube’s interface. Instead, Musi offers
significant functionality with an augmentative interface. A sufficient amount of
information not obtained from YouTube—specifically, Musi's proprietary user interface
components and proprietary organizational functionality/metadata such that YouTube
content is not the “primary basis” for Musi’s advertising. The Musi app also allows users
to “mix” or “EQ” the audio output of videos in real time, and even offers equalizer
presets (such as “Bass++” or “Acoustic”). In addition, Musi’s interface allows users to
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view song lyrics as they stream the videos (with a “lyrics” feature powered by the
popular lyric aggregator Genius.com).

        The Musi app allows users to interact with YouTube’s publicly available content
with added functionality. Musi’s functionality only interacts with public-facing YouTube
webpages; the app does not “hack,” scrape, or circumvent YouTube’s interface, system,
or content. It allows users to access YouTube’s content without modification, for that
user’s “personal, non-commercial use,” in keeping with YouTube’s Terms of Service.
Musi does not store YouTube content on its servers, and YouTube content does not pass
through Musi’s system. Rather, content is streamed directly from YouTube to a user’s
device per a user’s request.

        In light of this clarification of how the Musi app works, we respectfully disagree
that the use of the app by Musi’s users violates YouTube’s Terms of Service. For years,
Musi has corresponded and engaged with YouTube in good faith, and Musi remains
committed to an ongoing dialogue. This letter is without prejudice to any claims or
defenses Musi may have, each of which is expressly reserved.


Sincerely,

/s/ Michael S. Elkin

Michael S. Elkin
WINSTON & STRAWN LLP
Attorneys for Musi Inc.

cc: Musi Inc.
